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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Criminal No. 23-cr-261 (APM)
                                               :
TERRY ALLEN,                                   :
                                               :
                                               :
                       Defendant.              :


                         UNITED STATES’ REPLY IN SUPPORT OF
                          DETENTION PENDING SENTENCING

       The government respectfully submits this brief in reply to address contentions by

Defendant Terry Allen that the law does not dictate that he should be detained pending sentencing

on the seven criminal offenses he committed at the U.S. Capitol on January 6, 2021, including at

least one undisputed crime of violence under the relevant statutory framework.

   a. There is no discernible likelihood that a motion for acquittal or new trial will be granted
      on Allen’s Section 111(b) conviction triggering applicability of Section 3143(a)(2).

       On July 11, 2024, the Court convicted Terry Allen of violating 18 U.S.C. § 111(b) after

finding beyond a reasonable doubt that Allen assaulted law enforcement officers with a deadly or

dangerous weapon on January 6, 2021. Through 18 U.S.C. § 3143(a)(2), Congress has instructed

that defendants convicted of such crimes of violence shall be held pending sentencing, unless there

is, among other requirements, a significant chance that this basis for detention will be undone—

that there is “a substantial likelihood that a motion for acquittal or new trial will be granted.” Where

Courts—including the Supreme Court—have interpreted analogous language elsewhere in Section

3143 regarding when a defendant convicted of a crime of violence must be held pending appeal,

they have confirmed the same reading: that if there is not a substantial risk of acquittal or a new



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trial as to that crime of violence, then the defendant shall remain detained. ECF No. 46 at 3-4

(collecting cases).

         The defendant fails to cite a single decision by a federal court to the contrary. In fact, the

only case cited by the defendant that “establish[es] criteria for determining existence of substantial

issue on appeal for purpose of release” is yet another case that explicitly held that—in the context

of bail pending appeal—the substantial issue must be “likely to result in reversal or an order for a

new trial on all counts on which imprisonment has been imposed.” ECF No. 49 at 3 (citing United

States v. Randell, 761 F.2d 122, 125 (2d Cir. 1985)) (emphasis added). And while the defendant

makes the generalized claim that “Mr. Allen also has a substantial likelihood of success on all of

the charges of conviction” because “[t]here are several open questions of law being contemplated

by the Circuit,” he does not identify which of these “open questions” could plausibly result in

acquittal or new trial on Allen’s Section 111(b) conviction, nor did the Court note any such issues

outside of the definition and scope of “knowingly” as it appears in 18 U.S.C. § 1752(a) offenses.

Id.

      b. There is evidence Allen is a danger to another individual or individuals in the
         community.

         In his opposition, the defendant states that “[t]he parties do not dispute and the Court

already found that … Mr. Allen is not likely to flee or pose a danger to any other person or the

community.” This is not correct. The government strongly disagrees with the assertion that there

is clear and convincing evidence that Allen does not pose a danger to any other person or the

community.

         First, it is not accurate that “Mr. Allen has not spent a day in jail in his life.” ECF No. 49

at 4. Allen was previously incarcerated for an aggravated assault on a police officer. On Dec. 23,

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1983, when a State College police officer attempted to arrest Allen for public drunkenness, Allen

wrestled the officer to the ground, got on top of him, gripped the officer’s neck with both hands

and choked him, and then brutally and repeatedly slammed the officer’s head into the concrete

pavement of a Burger King parking lot.

       Allen’s arrest for his criminal conduct on January 6 provided further evidence of his

dangerousness. When police searched Allen’s home after arresting him on the instant charges, 1

they found 19 firearms, M-class fireworks, gunpowder, and 10,000-20,000 rounds of ammunition.

Included among these firearms was an AR-15 featuring an image of former President Donald

Trump in an 18th century military officer’s uniform surrounded by the text, “45th PRESIDENT

DONAL J. TRUMP – 1776 REBORN – JANUARY 20, 2017.”




       There are also indications that Allen has contemplated some form of violence against

protected classes of individuals, such as members of the LGBT community. In June of 2023,

shortly before his arrest, when someone joked that Allen should decorate his excavator for the


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 Allen was arrested via traffic stop rather than at his home because of concerns for law
enforcement personnel safety.
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LGBT Pride Month, Allen responded: “I already ordered 2000 rounds of f*g and quire [sic] hollow

point and green tip to put them out of there [sic] misery and everything!” Followed by: “They

come out here they better Repent and get right with Jesus or we are going to have big time problems

just sayen [sic] and everything!” Following Allen’s arrest, he told FBI agents that approximately

five years ago, he traveled to a gay pride rally in North Carolina to instigate opposition and verbally

confront participants.

       Allen continued to demonstrate an eagerness to use violence during the months leading up

to January 6, 2021. In Government’s Exhibit 313 admitted at trial, shortly after Allen held up his

fist wearing gloves with reinforced gloves and said he wanted to “try these new gloves out,” Allen

said he was there to “kick some ass and take names,” followed by: “I don’t believe in Romans 13

that we’re supposed to just sit down and bow from it. When you see sin, you get in their face and

let them know.” The government respectfully asks that the Court reconsider its determination that

there is clear and convincing evidence that Allen does not pose a danger to any other person or to

the community.

   c. Home Incarceration would provide additional, important restrictions on Allen’s
      movement within the local community.

       To the extent the Court rules otherwise, the government disagrees with the defendant that

there is no utility in modifying Allen’s conditions of release from Home Detention to Home

Incarceration. Allen’s current conditions on Home Detention allow him significant flexibility to

leave his home and travel within the local community, as he is permitted to do in relation to his

construction and excavation business. Home Incarceration would, on the other hand, appropriately

limit Allen’s ability to travel freely into the community except for medical necessities from now

until sentencing on Nov. 14, 2024.


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                              Respectfully submitted,

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